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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="b50bc7edce"&gt;&lt;span data-sentence-id="d14b1ea1d6" quote="false" data-paragraph-id="b50bc7edce"&gt; Action Inc., Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="34a152d0a8" quote="false" data-paragraph-id="b50bc7edce"&gt; &lt;br /&gt; Brad Mitchell, Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="826d532cf9"&gt;No. 21SC467&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33a6f13a73"&gt;October 18, 2021&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="7e37f199e2"&gt;&lt;span data-sentence-id="1719f6baf9" quote="false" data-paragraph-id="7e37f199e2"&gt; Jefferson County District Court Case No. 21CV30076 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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